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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION Fl L. E D
UNITED STATES OF AMERICA, ) DEC 07 2999
)
Plaintiff, ) U.S. CLERK'S OFFICE
) INDIANAPOLIS, INDIANA
v. ) CAUSE NO: 1:22-cr-
)
JAMES BENNETT, . oe ee
1s 19 .¢f- Ui y 0 JMS -TAB
Defendant. )
INDICTMENT
The Grand Jury further charges that:
COUNT 1

18 U.S.C. § 195 1{a)
Attempted Interference with Commerce by Robbery

At all times material to this Indictment, the Pet Smart supply store, located at 9749 East
Washington Street, Indianapolis, Indiana, was engaged in the operation of a pet supply store,
open to the public in interstate commerce, and in an industry that affects interstate commerce.

On November 4, 2022, in the Southern District of Indiana, Indianapolis Division, JAMES
BENNETT, the defendant herein, did unlawfully obstruct, delay, and affect, and attempt to
obstruct, delay, and affect commerce and the movement of articles and commodities in such
commerce by means of robbery, in that the defendant did unlawfully attempt to take and obtain
money or property from the person of, or in the presence of, an employee of the Pet Smart supply
store against his/her will by means of actual and threatened force, violence, and fear of injury to
his/her person, that is, by using force to attempt to obtain United States currency from an
employee of the Pet Smart supply store.

All in violation of Title 18, United States Code, Section 1951 (a).

 
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FORFEITURE

1, Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 18, United States Code, Section 924(d), Title 21, United States
Code, Sections 853 and 881, and Title 28, United States Code, Section 2461(c), as part of any
sentence imposed.

2. Pursuant to Title 21, United States Code, Section 853, if convicted of the offense
set forth in Count One of this Indictment, the defendant shall forfeit to the United States any and
all property constituting or derived from any proceeds the defendant obtained directly or
indirectly as a result of the offense, and any and all property used or intended to be used in any

manner or part to commit and to facilitate the commission of the offense.

A TRUE BILL:

FOREPERSQN

 

ZACHARY A. MYERS
United States Attorney

By: LLL ee

Jetemy C. Fugate
Assistant United States Attorney

MPB

 
